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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON(s)

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  WALTINE NAUTA and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

       GOVERNMENT’S NOTICE IN RESPONSE TO DEFENDANT’S EMERGENCY
                                MOTION

         Defendants Waltine Nauta and Carlos De Oliveira have filed an Emergency Motion to

  Preclude the Government from Issuing a Purported Special Counsel Report Contravening This

  Court’s Dismissal Order and Prejudicing Defendants’ Pretrial Rights. ECF No. 679 (Motion). The

  Government files this notice to apprise the Court of the following.

         The Special Counsel’s Office is working to finalize a two-volume confidential report to the

  Attorney General explaining the Special Counsel’s prosecution decisions.          See 28 C.F.R.

  § 600.8(c). The Attorney General will decide whether any portion of the report should be released

  to the public. See 28 C.F.R. § 600.9(c). One volume of the report pertains to this case. The

  Attorney General has not yet determined how to handle the report volume pertaining to this case,

  about which the parties were conferring at the time the defendants filed the Motion, but the

  Department can commit that the Attorney General will not release that volume to the public, if he

  does at all, before Friday, January 10, 2025, at 10:00 a.m. The Special Counsel will not transmit
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  that volume to the Attorney General before 1:00 p.m. on January 7, 2025. The Government will

  file a response to the defendants’ Motion no later than January 7, 2025, at 7:00 p.m.



                                               Respectfully submitted,

                                               JACK SMITH
                                               Special Counsel
                                               N.Y. Bar No. 2678084

                                               BRIAN M. BOYNTON
                                               Principal Deputy Assistant Attorney General
                                               Civil Division


                                        By:    /s/ James I. Pearce
                                               James I. Pearce
                                               Assistant Special Counsel
                                               Special Bar ID #A5503077


  January 7, 2025




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on January 7, 2025, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission of

  Notices of Electronic Filing.


                                       /s/ James I. Pearce
                                       James I. Pearce




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